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UNITED sTATES DISTRICT CoURT F“--‘-’@ "»¥ " 1

WESTERN DISTRICT OF TENNESSEE
Westero Division

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-vs_ Case No. 2:05¢r20307-D

UNITED STATES OF AMERICA 03 il -F

  
 

ELAINE F. JACOBY

 

ORDER APPOINTING COUNSEL PURSUANT TO
THE CRIMINAL JUSTICE ACT

This Court has determined that the above-named defendant is financially unable to obtain adequate
representation in the above-styled case, and is otherwise qualified for appointment of counsel. Accordingly,

the Coult makes the following appointment pursuant to the Criminal Justice Act (18 U.S.C. § 3006A):

 

APPOINTMENT OF COUNSEL
~ The Federal Public Defender is appointed as counsel for the Defendant.
TYPE OF APPOINTMENT

D()NE and ORDERED in 167 North Main, Memphis, this l i day of August,

2005.
`TU M. PHAM
UNITED STATES MAGISTRATE JUDGE

Copies furnished to:
United States Attorney
United States Marshal

Pretrial Services Offlce

Assistant Federal Public Defender
Intake

ELAINE F. JACOBY

this document entered on the docket sioux 15 compliance
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Notice of Distribution

This notice confirms a copy of the document docketed as number 6 in
case 2:05-CR-20307 Was distributed by faX, rnail, or direct printing on
August 23, 2005 to the parties listed.

 

 

PDA

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Honorable Bernice Donald
US DISTRICT COURT

